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        STANFORD JUNIOR UNIVERSITY), DEBRA
   12   ZUMWALT, and FREDERICK DIRBAS
                           UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14
      UNITED STATES OF AMERICA                    Case No. 2:17-cv-08726-DSF-AFM
   15 Ex. Relator Emily Roe., an individual;      Assigned to the Honorable Dale S.
                                                  Fischer, [Courtroom 7D]
   16
                         Plaintiffs,              MOVING DEFENDANTS’
   17                                             OPPOSITION TO RELATOR’S
             v.                                   MOTION TO AMEND ORDER
   18                                             DKT. NO. 82
        STANFORD HEALTHCARE BILLING
   19   DEPARTMENT, STANFORD HEALTH               [Filed concurrently with Declaration of
        CARE (FORMERLY KNOWN AS                   Frank E. Sheeder III in Support of
   20   STANFORD HOSPITALS AND                    Moving Defendants’ Opposition to
        CLINICS), DR. FREDERICK DIRBAS,           Relator’s Motion to Amend Order Dkt.
   21   DEBRA ZUMWALT, THE BOARD OF               No. 82]
        DIRECTORS OF THE STANFORD
   22   HEALTH CARE, THE BOARD OF                 Hearing
        DIRECTORS OF THE LUCILE SALTER
   23   PACKARD CHILDREN’S HOSPITAL               Date: August 31, 2020
        AT STANFORD, THE LELAND                   Time: 1:30 p.m.
   24   JUNIOR UNIVERSITY, THE BOARD              Ctrm: First Street Courthouse
        OF TRUSTEES OF STANFORD                         Courtroom 7D
   25   UNIVERSITY, STANFORD HEALTH                     350 West 1st Street
        CARE ADVANTAGE and DOES 1-10,                   Los Angeles, CA 90012
   26   inclusive.

   27                    Defendants.

   28


                    OPPOSITION TO RELATOR’S MOTION TO AMEND ORDER DKT. NO. 82
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    1        Stanford Health Care (“SHC”), Stanford Health Care Advantage (“SHCA”),
    2   The Leland Stanford Junior University (a/k/a The Board of Trustees of the Leland
    3   Stanford Junior University) (the “University”), Debra Zumwalt (“Ms. Zumwalt”),
    4   and Frederick Dirbas (“Dr. Dirbas”) (collectively, “Moving Defendants”) file this
    5   Opposition to Relator’s Motion to Amend Order Dkt. No. 82 (the “Motion”) and, for
    6   the reasons discussed below, respectfully request that the Court deny the Motion, or
    7   strike it as with Relator’s previous filing, and take other appropriate action against
    8   Relator and her counsel, Ms. Juarez.
    9   I.    INTRODUCTION
   10         It has been four weeks since the Court ordered Relator to “file a statement
   11   disclosing her true name,” and she has not done anything to comply. Relator has also
   12   ignored the Court’s counsel that she seek to seal the details of her personal medical
   13   history, brushing it off like someone without any legitimate concern simply because
   14   she says it would be too much work for her.
   15         Instead of obeying the Court’s order to disclose her name, Relator waited until
   16   the afternoon of the last day for compliance and filed a mislabeled request for
   17   reconsideration without attempting to confer with counsel. The Court struck that
   18   filing almost immediately and instructed Relator to comply with Local Rule 7-3.
   19         Relator promptly disregarded yet another order of this Court, renamed her
   20   stricken filing as the present Motion, and refiled it just hours later, again without
   21   complying with Local Rule 7-3. This was the second time that day, and the third
   22   time in less than two months, that Relator and Ms. Juarez filed a motion in violation
   23   of Local Rule 7-3, this time less than four hours after the Court informed her that she
   24   needed to comply with this Local Rule.
   25         Relator did not simply file her Motion in defiance of the Court’s Local Rules
   26   and previous orders; it is also baseless. In her Motion, Relator impermissibly repeats
   27   the same unavailing anonymity arguments from her previous filings. She also
   28   references new “Exhibits” to Ms. Juarez’s Declaration—documents Relator admits

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    1   she has had for months but omitted from previous filings so she could ambush
    2   Moving Defendants by unveiling them for the first time at the hearing on the Rule
    3   10(a) Motion.
    4         Even worse than admitting her plan to sandbag Moving Defendants and the
    5   Court with “Exhibits” she had been sitting on for months, Relator has repeated these
    6   same schemes in the current Motion, violating a host of other Rules in the process.
    7   Relator bases her Motion on “Exhibits” to Ms. Juarez’s accompanying Declaration,
    8   but she has not filed or served any of them, instead replacing each with a single-page
    9   slip sheet that simply says, “Exhibit Redacted.” Although Relator may have provided
   10   the Court with ex parte copies of these entirely missing “Exhibits,” she has never
   11   provided Moving Defendants with anything other than her blank public filing. No
   12   matter how she tries to justify it, Relator’s motives are clear: circumvent the Court’s
   13   rules for filing documents under seal; again keep Moving Defendants in the dark
   14   about the “Exhibits” she intends to spring on them at the last minute; and generate
   15   even more unnecessary litigation costs in this matter.
   16         Relator and Ms. Juarez should not be permitted to continue their abusive
   17   tactics. In the short time this case has been unsealed, Relator and Ms. Juarez have
   18   abused the judicial process, disregarded the Rules and Local Rules, made frivolous
   19   legal arguments in multiple filings, and repeatedly presented objectively false factual
   20   contentions to the Court. The Motion is just the latest of their many attempts to harass
   21   Moving Defendants and purposefully drive up their litigation costs.            Moving
   22   Defendants request that the Court deny the Motion, or strike it just like the last one,
   23   and take other appropriate corrective and preventive actions against Relator and Ms.
   24   Juarez.
   25   II.   BACKGROUND
   26         A.     Relator presented her flawed anonymity arguments in opposition to
   27                Moving Defendants’ Rule 10(a) Motion.
   28         On March 2, 2020, Relator confirmed in her Second Amended Complaint

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    1   (“SAC”) that she had been pursuing this case under a fictitious name for over two
    2   years. See SAC ¶ 39, ECF No. 55. Less than 30 days later, on March 30, 2020,
    3   Moving Defendants moved to dismiss the SAC on a number of grounds, including
    4   under Federal Rule of Civil Procedure (“Rule”) 10(a) due to Relator’s failure to seek
    5   leave to proceed under a pseudonym or to introduce any evidence that could support
    6   her continued anonymity. See Mot. to Dismiss SAC Pursuant to Rule 10(a) (“Rule
    7   10(a) Motion”), ECF No. 64.
    8         Although Moving Defendants agreed to Relator’s request for an expanded
    9   briefing schedule and gave her over six additional weeks to oppose the Rule 10(a)
   10   Motion, she still could not distinguish any of the nearly 40 cases cited in it or cite to
   11   a single case that supported her specious arguments for concealing her identity. See,
   12   e.g., Reply in Supp. of Rule 10(a) Mot. (“Rule 10(a) Reply”) 3:18-4:14, ECF No. 77.
   13   In her opposition, Relator mentioned orders from the state court matter and a
   14   physician’s declaration about unspecified medical conditions or “physical harm,” but
   15   the only “evidence” she offered was a declaration from Ms. Juarez that is virtually
   16   identical to three others Ms. Juarez has filed in this case and that is based on many of
   17   the same objective misstatements. See Opp’n to Rule 10(a) Mot. (“Rule 10(a)
   18   Opposition”) 13:4-10, 21:18-22:16; Rule 10(a) Reply 6:21-28.
   19         In their reply, Moving Defendants addressed the many deficiencies in
   20   Relator’s quest for anonymity, including her failure to proffer any evidence that could
   21   support her futile positions. See, e.g., Rule 10(a) Reply 7:1-24. Nonetheless, Relator
   22   never filed additional documents in support of her opposition, nor did she move for
   23   leave to present anything to the Court under seal or in camera as required by the
   24   Local Rules. See L.R. 79-5.2.2; L.R. 79-6.2.
   25         B.     Over a month after filing her opposition to the Rule 10(a) Motion,
   26                Relator repeated the same unsustainable anonymity arguments in
   27                her Rule 11 Motion.
   28         Relator repeated her anonymity arguments a month later in her Amended

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    1   Motion for Sanctions, Costs, and Attorney’s Fees Pursuant to Fed. R. Civ. P. Rule
    2   11, ECF No. 75-1 (“Rule 11 Motion”). She once again referenced state court orders
    3   and purportedly “documented” medical conditions, but still relied exclusively on the
    4   deficient declaration of Ms. Juarez. See Rule 11 Mot. 3:16-19, 13:20-14. In their
    5   opposition to the Rule 11 Motion, Moving Defendants were again compelled to
    6   address these arguments and supposed “evidence” in support. See, e.g., Opp’n to
    7   Rule 11 Mot. 13:6-17:14. No doubt recognizing the futility of her positions, Relator
    8   did not bother to file a reply in support of her Rule 11 Motion, and the Court denied
    9   it after describing it as lacking any procedural or substantive basis. See ECF No. 83,
   10   at 2.
   11           C.    Relator and Ms. Juarez referenced Relator’s desired anonymity in
   12                 at least 8 filings after the Rule 10(a) Motion had been filed but never
   13                 produced anything but Ms. Juarez’s conflicted statements in
   14                 support.
   15           Relator and Ms. Juarez referenced Relator’s desired anonymity in the SAC and
   16   at least 8 subsequent filings before the Court ordered Relator to disclose her name.1
   17   Although Relator mentioned that she could provide additional evidence or argument
   18   if requested by the Court, she never filed or moved to file anything but Ms. Juarez’s
   19   conflicted statements. See Rule 10(a) Opp. 13:4-10, 21:18-22:16; Rule 11 Mot. 3:16-
   20   19, 13:20-14.
   21           D.    Relator took no action when the Court removed the Rule 10(a)
   22                 Motion from the hearing docket.
   23           On July 8, 2020, the Court removed the Rule 10(a) Motion from its hearing
   24
   25   1
          Relator and Ms. Juarez referenced Relator’s desired anonymity in at least the
   26   following filings during the five months preceding the Court’s order: (1) SAC ¶ 39;
        (2) Juarez Decl. in Supp. of Opp’n to Mot. to Dismiss and Strike SAC ¶ 2-4, 7, Exs.
   27   B & C, ECF No. 67-1; (3) Rule 10(a) Opp’n; (4) Juarez Decl. in Supp. of Rule 10(a)
        Opp’n ¶ 2-4; (5) Juarez Decl. in Supp. of Mot. for Costs, Exs. B & C, ECF No. 69-
   28   2; (6) Notice of Rule 11 Mot., ECF No. 75; (7) Rule 11 Mot.; (8) Juarez Decl. in
        Supp. of Rule 11 Mot. 2-3, 5, 8, Exs. B & C; (9) Rule 11 Certificate, ECF No. 75-4.
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    1   docket and indicated that it would issue a written order at a later date. See ECF No.
    2   80. Relator did nothing in response. She did not file any additional evidence, seek
    3   leave to present additional documents to the Court under seal or in camera, or notify
    4   the Court that she intended to do so.
    5           E.    The Court correctly ordered Relator to “file a statement disclosing
    6                 her true name no later than July 20, 2020.”
    7           On July 13, 2020, the Court dismissed Relator’s SAC with prejudice,
    8   recognized that dismissal did not moot the issue raised in the Rule 10(a) Motion, and
    9   ordered Relator to “file a statement disclosing her true name no later than July 20,
   10   2020.” See ECF Nos. 81 and 82. The Court recognized that Relator failed to show
   11   any “reasonable fear of severe harm” or “evidence of a concrete threat of any kind of
   12   retaliation” that could justify anonymity, the “public interest and Defendants’ interest
   13   favors disclosure of Relator’s name, especially in the context of claims of fraud
   14   against the government,” and Relator’s privacy concerns could be addressed through
   15   “targeted redaction and sealing.” ECF No. 82, at 2-3. The Court also advised Relator
   16   that if she desired to have any portion of her “personal medical history” sealed, “she
   17   should file an application to seal that complies completely with the procedures set out
   18   in the Local Rules.” See ECF No. 82, at 3 n.2 (emphasis in original).
   19           F.    Relator has not complied with the Court’s order.
   20           Relator has not complied with the Court’s order to “file a statement disclosing
   21   her true name no later than July 20, 2020,” or its suggestion that she could file an
   22   application to seal her “personal medical history.” Instead, as discussed below, she
   23   waited until the last minute and filed two procedurally deficient requests to challenge
   24   the Court’s order, including the present Motion, neither of which complied with the
   25   Court’s order, Standing Order, or the Local Rules. See ECF No. 85-87. Even though
   26   it has been three weeks since Relator’s deadline to comply with the Court’s order,
   27   she has yet to disclose “her true name” or file a motion to seal even a single line of
   28   text.

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    1         G.    Relator and Ms. Juarez ignored this Court’s warning to comply
    2               with Local Rule 7-3 prior to filing the Motion.
    3         The Motion itself shows that Relator’s first and only attempt to confer with
    4   counsel occurred on July 20, 2020, and that she filed the Motion later that same day
    5   even though she had yet to hear back from counsel. See Mot. ii:14-19. But the details
    6   are actually much worse.
    7         Here is the timeline of events surrounding Relator’s filing of the Motion on
    8   July 20, 2020:
    9        3:06 p.m. PDT – Relator filed a “Statement,” which was a misnamed request
   10   for reconsideration about which she never conferred with counsel. See ECF No. 85;
   11   Decl. of Frank E. Sheeder III in Supp. of Moving Defendants’ Opp’n to Relator’s
   12   Mot. to Am. Order Dkt. No. 82 (“Sheeder Decl.”) ¶¶ 2-3.
   13        4:06 p.m. PDT – The Court struck Relator’s “Statement” and warned her that
   14   she had to comply with “the requirements of Local Rule 7-3.” See ECF No. 86;
   15   Sheeder Decl. ¶ 4.
   16        4:54 p.m. PDT – Ms. Juarez sent an email telling counsel for the first time that
   17   Relator was considering filing a motion for reconsideration and requested that they
   18   “let me know as soon as possible if your office would be agreeable to non-opposition
   19   of our motion.” Sheeder Decl. ¶¶ 5, 7.
   20        7:54 p.m. PDT – Relator refiled her “Statement,” this time after renaming it
   21   as the present Motion and adding some language about reconsideration, but still
   22   without ever discussing her “Statement” or the Motion with counsel or even awaiting
   23   a response to her first attempt to confer by email just three hours before. Compare
   24   ECF No. 85, with ECF No. 87; Sheeder Decl. ¶¶ 6-7.
   25         This was the second time that day, and the third time in less than two months,
   26   that Relator and Ms. Juarez filed a motion without complying with Local Rule 7-3 or
   27   this Court’s Standing Order, this time just hours after the Court warned her that she
   28   had to do so. See ECF No. 86; see also Opp’n to Rule 4 Mot. 11:12-13:11 (failing to

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    1   confer on Rule 4 Motion).
    2          H.    Relator’s Motion is based on “Exhibits” that she purposefully
    3                excluded from her previous filings, did not file with the Motion, and
    4                has yet to serve on Moving Defendants.
    5          Although the Motion references eight “Exhibits” to Ms. Juarez’s
    6   Declaration—documents which Relator now admits she purposefully excluded from
    7   her previous filings so she could discuss them for the first time at the hearing, Relator
    8   did not include any of them with the Motion. See ECF No. 87, Exs, A-H; see also
    9   Sheeder Decl. ¶ 8. Instead, ignoring the Court’s requirements for seeking leave to
   10   file documents under seal, Relator replaced each “Exhibit” to Ms. Juarez’s filed
   11   Declaration with a single-page document that inexplicably states, “Exhibit
   12   Redacted.” See ECF No. 87, Exs. A-H; see also Sheeder Decl. ¶ 8.
   13          Relator did not simply fail to file copies of the “redacted” Exhibits with her
   14   Motion, she has also not served Moving Defendants with any of these documents,
   15   redacted or otherwise.2 Sheeder Decl. ¶ 8. The conspicuous absence of a certificate
   16   of service further confirms that Relator never had any intention of providing these
   17   missing “Exhibits” to Moving Defendants. See generally ECF No. 87.
   18   III.   THE MOTION IS IMPROPER BECAUSE RELATOR HAS AGAIN
   19          REFUSED TO COMPLY WITH LOCAL RULE 7-3
   20          Local Rule 7-3 requires counsel for a party who contemplates filing a motion
   21   “to discuss thoroughly, preferably in person, the substance of the contemplated
   22   motion and any potential resolution” with opposing counsel “at least seven (7) days
   23   prior to the filing of the motion.” L.R. 7-3 (emphasis added). The Court’s Standing
   24   Order in this case reaffirms the importance of this pre-filing requirement and
   25   emphasizes that “Failure to comply with this Rule will be grounds for sanctions”
   26   and may also be grounds for declining to hear the motion. Standing Order 7:7-19,
   27   2
          Although Moving Defendants can generally access court documents from state
   28   court cases, they have not been able to verify the accuracy of whatever documents
        upon which Relator is purportedly basing her Motion.
                                                     7
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    1   ECF No. 5 (emphasis in original). Moving Defendants respectfully suggest that the
    2   Court should do both here.
    3         There is no question that Relator did not comply with Local Rule 7-3. As
    4   shown above, she filed the Motion less than three hours after informing counsel by
    5   email for the first time that she intended to file such a request. Sheeder Decl. ¶¶ 5-7.
    6   She did not provide a copy of the proposed motion or its exhibits, explain the basis
    7   for it, or even await a reply to her email. Id. Ms. Juarez simply did not comply with
    8   the purpose or plain language of Local Rule 7-3.
    9         Relator and Ms. Juarez have no excuse for their repeated choices to ignore
   10   Local Rule 7-3 and the Court’s Standing Order. Moving Defendants were compelled
   11   to brief this very issue just the month before. See Opp’n to Rule 4 Mot. 11:12-13:11.
   12   The Court had also warned Relator that a motion must satisfy “the requirements of
   13   Local Rule 7-3” less than four hours before she filed the Motion. ECF No. 86. Even
   14   then, Relator and Ms. Juarez did not heed the Court’s instruction, comply with Local
   15   Rule 7-3, or obey the Court’s Standing Order. Sheeder Decl. ¶¶ 4-7. The Court
   16   should strike or deny the Motion on this basis alone. See Standing Order 7:7-19. The
   17   Court should also consider appropriate sanctions and preventive measures, such as
   18   awarding Moving Defendants their attorneys’ fees in opposing the Motion or other
   19   appropriate action, based on Relator’s and Ms. Juarez’s serial disregard of Local Rule
   20   7-3 and the Court’s orders. See id.; L.R. 83-7 (authorizing sanctions against a party
   21   or counsel who violates the Local Rules).
   22   IV.   THE MOTION IS ALSO IMPROPER BECAUSE RELATOR HAS
   23         NOT FILED, SERVED, OR PROVIDED MOVING DEFENDANTS
   24         WITH A SINGLE PURPORTED “EXHIBIT” TO MS. JUAREZ’S
   25         DECLARATION
   26         It is axiomatic that a moving party must timely serve a copy of its written
   27   motion on all other parties. See Rule 5(a)(1). Additionally, the Local Rules
   28   specifically require a moving party to serve “[t]he evidence upon which the moving

                                                    8
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    1   party will rely in support of the motion” at the time it files its notice of motion. L.R.
    2   7-5; see also L.R. 7-6 (recognizing the general presumption that “[f]actual
    3   contentions involved in any motion and opposition to motions shall be presented,
    4   heard, and determined upon declarations and other written evidence”).
    5         Defying these well-established standards, Relator instead attempts to base her
    6   Motion on “Exhibits” that she has neither filed nor served on Moving Defendants.
    7   Indeed, to circumvent the Court’s specific requirements for seeking leave to file
    8   documents under seal, each “Exhibit” to Ms. Juarez’s Declaration consists of a single
    9   “Exhibit Redacted” page, and Relator has never provided Moving Defendants with
   10   anything more. Sheeder Decl. ¶ 8.
   11         Relator’s decision not to file the “Exhibits” or serve them on Moving
   12   Defendants as required by the Rules supplies additional, independent bases to
   13   disregard her unfiled “Exhibits,” strike or deny the Motion, and require Relator and
   14   Ms. Juarez to answer for their ongoing disregard of the Rules.3 See, e.g., L.R. 83-7;
   15   Thorne v. Steubenville Police Officer, 463 F. Supp. 2d 760, 770 (S.D. Ohio 2006)
   16   (“Because Plaintiffs failed to serve such exhibits on Defendants, they cannot rely on
   17   any information therein in support of their Opposition to Defendants’ Motion for
   18   Summary Judgment”), rev’d in part on other grounds in, 243 F. App’x 157 (6th Cir.
   19   2007); cf. Fed. R. App. P. 10(a) (excluding unfiled documents from district court’s
   20   record).
   21
   22
        3
   23     If Relator delivers or has delivered a copy of the Motion or “Exhibits” to the Court
        that differs from what she has filed, she will have violated the requirement that
   24   Chambers Copies must be “an exact duplicate of an electronically filed document.”
        See L.R. 5-4.5. Furthermore, if she delivers or has delivered “Exhibits” to the Court
   25   but not Moving Defendants, she will have also made a prohibited ex parte
        communication. Relator could not attempt to excuse such behavior as submitting
   26   documents for in camera review because Moving Defendants have not been notified
        of any request for, or authorization of, in camera review. See L.R. 79-6.2 (prohibiting
   27   submission of documents in camera “without prior approval of the Court”); see also
        Standing Order 16:2-20, ECF No. 5 (warning that ex parte applications that do not
   28   comply with the notice requirements of Local Rule 7-19.1 “will not be considered”
        and may also be the basis for sanctions).
                                                     9
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    1   V.    THE MOTION MUST BE DENIED BECAUSE RELATOR CANNOT
    2         SHOW SHE IS ENTITLED TO RECONSIDERATION
    3         A.     Reconsideration is an “extraordinary remedy.”
    4        Reconsideration is an “extraordinary remedy, to be used sparingly in the
    5   interests of finality and conservation of judicial resources.” Carroll v. Nakatani, 342
    6   F.3d 934, 945 (9th Cir. 2003) (citations and internal quotation marks omitted); see
    7   also Collins v. U.S. Citizenship & Naturalization Serv., No. CV 11-9909-JFW SSX,
    8   2013 WL 776244, at *1 (C.D. Cal. Feb. 6, 2013) (“Motions for reconsideration are
    9   disfavored and are rarely granted.”) (citation and internal quotation marks omitted).
   10        A motion for reconsideration under Rule 59(e) “may not be used to raise
   11   arguments or present evidence for the first time when they could reasonably have
   12   been raised earlier in the litigation.”     Id. at 945.    Absent “highly unusual”
   13   circumstances, reconsideration under Rule 59(e) is appropriate only where: (1) the
   14   court “is presented with newly discovered evidence”; (2) the court “committed clear
   15   error or the initial decision was manifestly unjust”; or (3) there is “an intervening
   16   change in controlling law.”4 Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS,
   17   Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).
   18        Furthermore, in the Central District of California, a party may move for
   19   reconsideration based “only” on the following grounds:
   20        (a) a material difference in fact or law from that presented to the Court
   21        before such decision that in the exercise of reasonable diligence could
   22
   23   4
         Although courts may also consider motions under Rule 60(b), Relator has expressly
   24   moved for reconsideration under Rule 59(e) and has further acknowledged that
        motions filed shortly after the contested order should be construed under Rule 59(e)
   25   rather than Rule 60(b). See Mot. ii:6-7, 4:26-5:16; see also Am. Ironworks &
        Erectors, Inc. v. N. Am. Constr. Corp., 248 F.3d 892, 898-99 (9th Cir. 2001).
   26   Furthermore, except for merely citing the Rules generally, she has failed to present
        argument under any specific subsection or theory. Scottsdale Ins. Co. v. Dickstein
   27   Shapiro LLP, 389 F. Supp. 3d 794, 835 (C.D. Cal. 2019) (declining to consider
        arguments not raised in the motion for reconsideration). In any event, as shown
   28   below, the Motion does not demonstrate a permissible basis for reconsideration under
        any Rule.
                                                   10
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    1        not have been known to the party moving for reconsideration at the time
    2        of such decision, or (b) the emergence of new material facts or a change
    3        of law occurring after the time of such decision, or (c) a manifest
    4        showing of a failure to consider material facts presented to the Court
    5        before such decision.
    6   L.R. 7-18. “No motion for reconsideration shall in any manner repeat any oral or
    7   written argument made in support of or in opposition to the original motion.” Id.
    8        “Courts in this district have interpreted Local Rule 7-18 to be coextensive with
    9   Rules 59(e) and 60(b).” Colonies Partners LP v. Cnty. of San Bernardino, No.
   10   EDCV18420JGBSHKX, 2020 WL 710157, at *2 (C.D. Cal. Jan. 9, 2020) (citation
   11   omitted). Thus, the grounds “specified in Local Rule 7-18 are the exclusive grounds
   12   for reconsideration in the Central District of California.” Scottsdale Ins. Co., 389 F.
   13   Supp. 3d at 835–36 (collecting cases). Unless the moving party shows that one of
   14   the three listed grounds in Local Rule 7-18 exists, the court will not grant
   15   reconsideration under any Rule. See Herzfeld v. Teva Pharm. USA, Inc., No.
   16   218CV09784ODWSSX, 2020 WL 1864852, at *2 (C.D. Cal. Apr. 14, 2020).
   17         B.     Relator cannot show any legitimate basis for reconsideration.
   18                1. Relator impermissibly repeats the same arguments from her
   19                    previous filings.
   20        A motion for reconsideration cannot be used “to ask the court to rethink matters
   21   already decided.” Scottsdale Ins. Co., 389 F. Supp. 3d at 834 (citation omitted); see,
   22   also, e.g., GoE3, LLC v. Eaton Corp., 798 F. App’x 998, 999 (9th Cir. 2020) (“Parties
   23   cannot use a Rule 59(e) motion to get a ‘second bite at the apple.’”). “[A] party may
   24   not merely urge the court to reconsider past arguments or present new arguments it
   25   failed to make prior to the issue of an order.” Scottsdale Ins. Co., 389 F. Supp. 3d at
   26   836 (citation and internal quotation marks omitted).
   27        Despite a mountain of case law that prohibits her from doing so, Relator uses
   28   her Motion to reassert the same arguments from her previous briefing. Relator raised,

                                                   11
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    1   Moving Defendants refuted, and the Court rejected, every argument she now attempts
    2   to make again in support of her desired anonymity. For example, Relator repeats her:
    3          Incorrect argument that Moving Defendants cannot be prejudiced by her use
    4   of a pseudonym because they already know her name. Compare Mot. 3:18-27, with
    5   Rule 10(a) Opp’n 17:10-15, and Rule 10(a) Reply 9:3-11:18, and ECF No. 82, at 2
    6   n.1.
    7          Irrelevant claim that the U.S. Department of Justice never objected to her use
    8   of a pseudonym. Compare Mot. 3:27-4:12, 5:24-6:7, with Rule 10(a) Opp’n 2:24-
    9   3:4, 6:5-11, 13:9-16, 18:2-14, 20:22-21:17, and Rule 10(a) Reply 6:12-19.
   10          Baseless and contradictory argument that Moving Defendants “de-
   11   anonymized” her in the Rule 10(a) Motion.5 Compare Mot. 3:12-17, with Rule 10(a)
   12   Opp’n 3:18-22, 3:26-4:2, 5:16-21, 11:22-28, 12:26-28, 17:8-13, 21:11-17, and Rule
   13   10(a) Reply 4:15-5:28; see also Rule 11 Mot. 2:15-18, 3:8-4:1, 5:19-22, 12:1-3,
   14   12:18-13:14; Opp’n to Rule 11 Mot. 15:25-17:14.
   15          Assertion that this Court lacks “jurisdiction” to require her to disclose her true
   16   name, or that Moving Defendants would somehow be in violation of a protective
   17   order if it does, because she was allowed to proceed anonymously in an unrelated and
   18   long-since dismissed medical malpractice case in state court.6 Compare Mot. 2:27-
   19
        5
   20     Relator’s choice to reassert this argument is particularly troubling. First, her
        attempt to recharacterize the parties’ stipulation as a concession that Moving
   21   Defendants knew they had “de-anonymized” her contradicts the language of the
        stipulation and every communication about it. Compare, e.g., Mot. 3:12-17, with
   22   Stipulation 1:14-19, ECF No. 72, and Rule 10(a) Mot. 5:16-28. Second, if Relator
        genuinely believed that she had already been “de-anonymized,” she would have no
   23   reason to disobey the Court’s order to disclose “her true name,” as she has done.
        Relator’s irreconcilably inconsistent positions about the status of her anonymity raise
   24   serious questions about the credibility of her filings and the sincerity of her current
        refusal to comply with this Court’s orders.
   25   6
          Relator also claims for the first time that an admittedly inapplicable state cause of
   26   action can somehow justify her anonymity in this case. See Mot. 7:5-20. However,
        Relator’s new argument neither justifies anonymity nor constitutes a valid basis for
   27   reconsideration. See Carroll, 342 F.3d at 945. Furthermore, to the extent she is
        trying to justify her anonymity in this case based on allegations from her dismissed
   28   state court case, her reliance is equally misplaced—(1) her purposefully vague
        reference to “one Defendant” taking photos of her does not refer to any Defendant in
                                                     12
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    1   3:12, 6:8-26, with Rule 10(a) Opp’n 11:6-14, 11:28-12:12, 21:18-22:1, and Rule
    2   10(a) Reply 6:1-11; see also Rule 11 Mot. 5:20-22, 13:16-14:3; Opp’n to Rule 11
    3   Mot. 14:4-18.
    4          Speculation that disclosing her true name could somehow impact her or her
    5   family’s ability to seek future medical care from SHC or its affiliates. Compare Mot.
    6   6:26-7:4, with Rule 10(a) Opp’n 10:28-11:6, 13:24-14:2, and Rule 10(a) Reply 7:13-
    7   8:9, and ECF No. 82, at 2-3.
    8          Contention that she could experience some “physical” reaction in response to
    9   her displeasure with the thought of having to comply with Rule 10(a).7 Compare
   10   Mot. 6:26-7:4, with Rule 10(a) Opp’n 22:2-16, and Rule 10(a) Reply 7:1-9:2, and
   11   ECF No. 82, at 2-3; see also Rule 11 Mot. 3:12-24, 14:3-14; Opp’n to Rule 11 Mot.
   12   14:19-15:24,
   13           Relator’s attempt to repeat the arguments from her previous filings is expressly
   14   prohibited by the Local Rules, contradicts this Circuit’s case law, and confirms that
   15   the Court was correct the first time.        See, e.g., L.R. 7-18 (“No motion for
   16   reconsideration shall in any manner repeat any oral or written argument made in
   17   support of or in opposition to the original motion.”); Estate of Goldberg v. Goss-
   18
        this case or anybody employed by them; and (2) it was Relator, not Moving
   19   Defendants, who filed this case and included unnecessary details about her medical
        history (including revealing pictures) in the pleadings. Ironically, if anyone has
   20   violated a previous state court order regarding disclosure of medical records or
        dissemination of photographs obtained through discovery, it is Relator.
   21   7
          Relator’s claim that requiring her to comply with this Court’s order “would cause
   22   substantial embarrassment and unjust exposure of Relator, hence a reasonable fear of
        severe harm,” is not credible. Mot. 3:10-12. Relator cannot claim any “reasonable”
   23   fear based on public disclosure of her personal medical records when she: (1)
        included unnecessary and graphic details about her personal medical history in her
   24   pleadings in this matter (including pictures); (2) took no action to have those details
        sealed even after the Court suggested she could do so; and (3) seeks to include even
   25   more of her litigation and medical history in the present Motion. A reasonable person
        who feared “substantial embarrassment” from disclosure of personal medical
   26   information would have at least heeded the Court’s suggestion that she could request
        sealing pending resolution of her Motion, but Relator refused and claimed it would
   27   be too much work. See Mot. 7:22-8:6. It has been weeks, and Relator has not asked
        to seal anything. Relator’s behavior is much more consistent with someone who
   28   wishes to remain anonymous for other reasons, like those discussed in the Rule 10(a)
        Motion.
                                                    13
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    1   Jewett Co., Inc., No. EDCV141872DSFAFMX, 2019 WL 6448948, at *1 (C.D. Cal.
    2   Aug. 13, 2019) (recognizing that arguments previously presented to the court “do not
    3   form a basis for reconsideration”).
    4                  2. Relator cannot show that any of the unfiled and unserved “Exhibits”
    5                     to Ms. Juarez’s Declaration reveal “a material difference in fact or
    6                     law from” what she previously presented to the Court and “could
    7                     not have been known” to her through “reasonable diligence” before
    8                     the Court’s order.
    9           “A motion for reconsideration is not the place to ‘do-over’ things that should
   10   have been done better in the original briefing.” We 3 Kings, Inc. v. Steve Harvey
   11   Show, No. CV 14-8816 DSF (ASX), 2017 WL 10440164, at *2 (C.D. Cal. July 24,
   12   2017). “The overwhelming weight of authority is that the failure to file documents
   13   in an original motion or opposition does not turn the late filed documents into ‘newly
   14   discovered evidence.’” ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993); see Ybarra
   15   v. McDaniel, 656 F.3d 984, 998 (9th Cir. 2011) (affirming denial of reconsideration
   16   based on evidence that was available prior to the court’s ruling). Thus, to justify
   17   reconsideration based on newly filed documents, a party must show that the “new”
   18   documents (1) reveal “a material difference in fact or law from” what she previously
   19   presented to the Court and (2) “could not have been known” to her through
   20   “reasonable diligence” before the Court’s order. L.R. 7-18.
   21           Departing from any standard, Relator attempts to justify reconsideration based
   22   on “Exhibits” that she did not file with her Motion, has not served on Moving
   23   Defendants, and has admittedly known about for many months. For example:
   24          Relator describes “Exhibits” A and B as a physician’s declaration and order
   25   that she supposedly showed to the government on or before November 1, 2019, over
   26   eight months before the Court ordered Relator to disclose “her true name.”8 See Mot.
   27
        8
   28    Relator’s description of these mystery documents also confirms her chronic
        misunderstanding of the applicable anonymity standard—a litigant’s fears must be
                                                    14
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    1   5:18-23, 5:24-6:7.
    2          Relator describes “Exhibits” C, D, E, F, and H as filings and orders from a
    3   long-since dismissed medical malpractice case where she was allowed to proceed
    4   anonymously against various health care providers, including two of the Moving
    5   Defendants.
    6          Relator describes “Exhibit” G as an email from November 1, 2019, purporting
    7   to show that the U.S. Department of Justice did not object to her use of a pseudonym.
    8           Because Relator readily admits that she knew about each “Exhibit” for many
    9   months before the Court ordered her to reveal her name, it is impossible for her to
   10   show that they “could not have been known” to her through “reasonable diligence”
   11   before the Court’s order. L.R. 7-18. Indeed, courts regularly deny motions for
   12   reconsideration based on a declaration or other evidence that was either available
   13   before the court issued the challenged order or could have been known through the
   14   exercise of reasonable diligence. See, e.g., Abbywho, Inc. v. Interscope Records, No.
   15   CV 06-06724 MMM (JTLx), 2008 WL 11406034, at *4–6 (denying motion for
   16   reconsideration where movant failed to show that declarations could not have been
   17   filed earlier).
   18           The Motion does not just prove that Relator has known about each of these
   19   “Exhibits” for months, it also confirms she had absolutely no good faith basis for not
   20   introducing them earlier. Relator outright admits she purposefully excluded the
   21   “Exhibits” from her previous filings, and had no plan to file them before the hearing
   22   on the Rule 10(a) Motion unless specifically requested by the Court, because she had
   23   always planned to either produce or discuss them for the first time at the hearing on
   24   that motion.9       See Mot. 1:17-21 (admitting that she withheld “documents and
   25
        reasonable, and the “threat” cannot be self-imposed. See Doe v. Kamehameha Sch.,
   26   596 F.3d 1036, 1043-45 (9th Cir. 2010).
        9
   27     Relator’s recharacterization of her previous representations as a request for in
        camera review is also revealing. In the Motion, Relator claims that her counsel
   28   “advocated . . . that there were certain sensitive and confidential documents and
        evidence which would need to be submitted ‘in camera.’” Mot. 1:17-20 (emphasis
                                                      15
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    1   evidence” from her previous filings); 1:26-28 (admitting that these unfiled “Exhibits”
    2   would “have been otherwise produced at the time of oral argument or discussed at
    3   the hearing”). Even though Relator planned to sandbag the Court and Moving
    4   Defendants by revealing “Exhibits” she had been hiding for many months for the first
    5   time at the hearing, she still took no action when the Court removed the Rule 10(a)
    6   Motion from its hearing docket.
    7         Even worse, Relator repeated her same abusive tactics by not filing her
    8   “Exhibits” with the Motion or serving them on Moving Defendants. Sheeder Decl.
    9   ¶ 8. Her unfiled “Exhibits” are not part of the Court’s record and so could not justify
   10   reconsideration at this point even if she had not knowingly hidden them for many
   11   months. Relator’s scheme is clear—ignore this Court’s orders, circumvent its rules
   12   for filing documents under seal, and hide the “evidence” she intends to spring on
   13   Moving Defendants at the last minute. Her gamesmanship with these “Exhibits” was
   14   inexcusable the first time, and it is plainly vexatious now. Either way, Relator cannot
   15   show she is entitled to reconsideration based on the missing “Exhibits” to Ms.
   16   Juarez’s Declaration.
   17                3. Relator does not show “the emergence of new material facts or a
   18                    change of law occurring after” the Court’s order.
   19         Relator does not show “the emergence of new material facts” or “change of
   20   law” since the Court ordered her to disclose “her true name.” L.R. 7-18. The only
   21   “new” post-order fact Relator cites is Ms. Juarez’s statement that the government still
   22   does not object to Relator’s use of a pseudonym, but, even if true, this is not
   23   “material” nor does it differ from Relator’s previous representations. See Mot. 5:24-
   24   6:7; Rule 10(a) Reply 6:12-19. Likewise, far from demonstrating any “change of
   25
   26   added). In reality, Relator told the Court she had additional “records and physician
        affidavit” that Ms. Juarez would provide “[s]hould the court request or otherwise
   27   direct an in-camera exam . . . .” Rule 10(a) Opp’n 13:7-10 (emphasis added). Relator
        did not move to file these documents under seal or request an in camera review as
   28   outlined by the Local Rules; she laid a trap that she intended to spring on Moving
        Defendants at the hearing on the Rule 10(a) Motion.
                                                   16
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    1   law,” Relator cites only two anonymity cases that did not appear in her previous
    2   briefing, both were decided years ago, and neither allowed the plaintiffs to proceed
    3   anonymously. See Mot. 4:12-25; Doe v. Pub. Citizen, 749 F.3d 246, 275 (4th Cir.
    4   2014) (“we hold that the district court’s sealing order violated the public’s right of
    5   access under the First Amendment and that the court abused its discretion in allowing
    6   Company Doe to proceed under a pseudonym”); Doe v. Frank, 951 F.2d 320, 322,
    7   324 (11th Cir. 1992) (recognizing that “[l]awsuits are public events” and concluding
    8   that “the district court did not abuse its discretion in denying” the plaintiff’s “motion
    9   to proceed under a fictitious name”).
   10                4. Relator makes no showing, let alone “a manifest showing,” that the
   11                     Court failed “to consider material facts” she presented to it before
   12                     being ordered to disclose her name.
   13         Relator does not make “a manifest showing” that the Court failed “to consider
   14   material facts” she presented before the Court ordered her to disclose her true name.
   15   L.R. 7-18. Relator not only fails to highlight a single material fact from her previous
   16   filings that the Court did not consider, but she argues outright that her previous filings
   17   are supported by facts from “Exhibits” she never presented to the Court. This cannot
   18   support “a manifest showing” of Court error that can support reconsideration, nor is
   19   a party’s mere disagreement with the Court’s application of law to facts a “manifest
   20   showing of a failure to consider material facts.”10 Aventis Pharms SA v. Amphstar
   21   Pharm., Inc., No. ED CV 03-887 RT SGLX, 2005 WL 5957795, at *2 (C.D. Cal.
   22   Mar. 25, 2005).
   23   VI.   THE COURT SHOULD CONSIDER ADDITIONAL APPROPRIATE
   24         ACTIONS AGAINST RELATOR AND MS. JUAREZ
   25         Federal courts have broad power to award fees and costs against a party or
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        10
   27      Relator also makes the incorrect and completely unsupported argument that the
        Court’s dismissal of her claims with prejudice either mooted the issue of her
   28   anonymity or somehow deprived the Court of “subject matter jurisdiction” to enforce
        its orders, but not to reconsider them.
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    1   counsel who ignores the Rules, disobeys court orders, files frivolous documents, or
    2   otherwise abuses the judicial process. For example, the Court may impose sanctions
    3   against a party or attorney who violates Rule 11(b). See Rule 11(c)(1), (3). The
    4   Local Rules further authorize the Court to impose monetary sanctions, award costs
    5   and attorneys’ fees, and take any other appropriate action against parties or their
    6   counsel who deliberately violate any of the Local Rules. L.R. 83-7. The Court may
    7   use its inherent power to levy sanctions for “willful disobedience of a court order” or
    8   when a party or counsel has acted in “bad faith,” Fink v. Gomez, 239 F.3d 989, 993
    9   (9th Cir. 2001), or use its statutory authority to impose sanctions against an attorney
   10   who “multiplies the proceedings in any case unreasonably and vexatiously,” 28
   11   U.S.C. § 1927.
   12         In the short time this case has been unsealed, Relator and Ms. Juarez have
   13   disregarded this Court’s orders, abused the judicial process, ignored the Rules and
   14   Local Rules, made plainly frivolous legal arguments in multiple filings, and
   15   repeatedly presented objectively false factual contentions to the Court. Relator and
   16   Ms. Juarez have, just by way of example:
   17       Refused to comply with the Rules and Local Rules.
   18       Made numerous objectively false representations to the Court.
   19       Abused the judicial process to harass Moving Defendants.
   20   Moving Defendants outlined these and many other troubling examples in their
   21   Opposition to Relator’s Rule 11 Motion. See Opp’n to Rule 11 2:3-6:2, 6:24-9:4.
   22   The Court has since recognized that two of Relator’s other recent motions did not
   23   comply with applicable Rules and that Relator had “no evidence” or “substantive
   24   basis” for them. See ECF No. 83. Relator’s and Ms. Juarez’s actions are not simply
   25   innocent errors or isolated occurrences.
   26         Relator’s Motion, and her other recent actions, are just the last in a long line
   27   of abusive tactics and baseless filings that justify Court action against Relator and
   28   Ms. Juarez. Relator filed the Motion in a desperate attempt to avoid complying with

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    1   the Court’s order to disclose “her true name”—an order with which she has yet to
    2   comply—despite her repeated insistence that she has already been “de-anonymized.”
    3   Relator and Ms. Juarez also ignored the Court’s instruction to comply with Local
    4   Rule 7-3, instead choosing to file the Motion just hours later without conferring with
    5   counsel about its contents or basis or waiting “at least seven (7) days prior to filing,”
    6   both of which are required by Local Rule 7-3 and the Court’s Standing Order.
    7   Sheeder Decl. ¶¶ 5-7. Since filing the Motion, Relator still has not complied with
    8   the Court’s orders and Local Rules, withdrawn her baseless filing, or filed or served
    9   copies of the entirely “redacted” Exhibits to Ms. Juarez’s Declaration in support. Id.
   10   ¶ 8.
   11          The Court should not permit Relator and Ms. Juarez to continue to abuse the
   12   judicial process; disregard the Rules, the Local Rules, and this Court’s orders; and
   13   force Moving Defendants to incur even more unnecessary costs and attorneys’ fees
   14   to defend against their unjustifiable tactics. Moving Defendants respectfully request
   15   that the Court consider appropriate sanctions against Relator and Ms. Juarez, such as
   16   striking the Motion, awarding Moving Defendants their fees and costs incurred in
   17   opposing the Motion, or other remedial and preventive measures. Relator and Ms.
   18   Juarez have no legitimate explanation for their behavior.
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    1
    2   VII. CONCLUSION
    3         For these reasons, the Court should deny Relator’s Motion, or strike it as with
    4   her previous filing, and take other appropriate remedial and preventive actions
    5   against Relator and Ms. Juarez.
    6
    7 Dated: August 10, 2020              ALSTON & BIRD LLP
    8
                                          By: /s/ Frank E. Sheeder III
    9
                                          Attorneys for Moving Defendants
   10                                     STANFORD HEALTH CARE, STANFORD
                                          HEALTH CARE ADVANTAGE, THE
   11                                     LELAND STANFORD JUNIOR UNIVERSITY
                                          (A/K/A/ THE BOARD OF TRUSTEES OF
   12                                     THE LELAND STANFORD JUNIOR
                                          UNIVERSITY), DEBRA ZUMWALT, and
   13                                     FREDERICK DIRBAS
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    1                            CERTIFICATE OF SERVICE
    2         I hereby certify that on August 10, 2020, I caused a copy of MOVING
    3   DEFENDANTS’         OPPOSITION        TO      RELATOR’S       OPPOSITION         TO
    4   RELATOR’S MOTION TO AMEND ORDER DKT. NO. 82 to be served upon
    5   the following counsel and parties in interest via the Court’s CM/ECF system:
    6
              Gloria Juarez, Esq.                     Frank D. Kortum
    7         Law Offices of Gloria Juarez            Assistant United States Attorney
              26081 Merit Circle, Suite 112           Room 7516, Federal Building
    8         Laguna Hills, CA 92653                  300 N. Los Angeles St.
                                                      Los Angeles, CA 90012
    9
              Counsel for Relator                     Counsel for the United States of
   10                                                 America

   11
   12   /s/ Frank E. Sheeder III
        Counsel for Moving Defendants
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